      Case 1:25-cv-00698-TSC            Document 64   Filed 04/05/25    Page 1 of 6




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


CLIMATE UNITED FUND

                           Plaintiff,

      v.                                              Civil Action No. 25-cv-698-TSC

CITIBANK, N.A., et al.

                           Defendants.



COALITION FOR GREEN CAPITAL

                           Plaintiff,
                                                      Civil Action No. 25-cv-735-TSC
      v.

CITIBANK, N.A., et al.

                           Defendants.


POWER FORWARD COMMUNITIES,
INC.

                           Plaintiff,
                                                      Civil Action No. 25-cv-762-TSC
      v.

CITIBANK, N.A., et al.

                           Defendants.



           PLAINTIFFS’ RESPONSE TO EPA’S NOTICE OF AUTHORITY




                                              i
        Case 1:25-cv-00698-TSC           Document 64         Filed 04/05/25      Page 2 of 6




       Climate United Fund, Coalition for Green Capital, and Power Forward Communities, Inc.

respectfully submit this response to the Government’s notice concerning the Supreme Court’s

order in Dep’t of Education v. California, 2025 WL 1008354 (U.S. Apr. 4, 2025) (“DOE”).

See Dkt. 63. That order has limited relevance because the two cases diverge in key respects.

I.     The Megapulse Analysis In This Case Is Different

       As the Court is aware, the question whether Plaintiffs’ claims against the EPA Defendants

may proceed in this Court or in the Court of Federal Claims turns on the two factors in Megapulse,

Inc. v. Lewis, 672 F.2d 959, 967–68 (D.C. Cir. 1982). The DOE analysis of these two factors is

inapposite here, for the much the same reasons as Catholic Bishops is irrelevant.

       First, with respect to remedies, in DOE, the Supreme Court stayed a temporary restraining

order “requir[ing] the Government to pay out past-due grant obligations and to continue paying

obligations as they accrue.” 2025 WL 1008354 at *1. The nature of that remedy was clearly

dispositive in DOE (as it was in United States Conf. of Cath. Bishops v. U.S. Dep’t of State, 2025

WL 763738, at *5 (D.D.C. Mar. 11, 2025)). Plaintiffs in this case, however, do not seek an “order[]

‘to enforce a contractual obligation to pay money,’” id., because—as cannot be disputed—the

Government already disbursed the money. E.g., Dkt. 33-1 at 24–25 (“Plaintiffs are not asking the

government to pay anything: the funds here were already disbursed, and the money is at Citibank

in accounts affiliated with Plaintiffs’ grants, on their balance sheets.”); Dkt. 53 at 5 (“Plaintiffs’

claims are not that EPA has breached the Grant Agreements, but rather that EPA has acted contrary

to law in attempting to claw back those-already disbursed funds.”); id. at 6 (“EPA has already

disbursed all the funds to Plaintiffs. The question is whether EPA may claw these funds back

consistent with federal regulations, statutes, and the Constitution.”); see also id. at 8, 10, 20, 22.

       As a result, unlike in DOE, Plaintiffs here seek a prohibitory rather than a mandatory

injunction. Unlike in DOE, the order Plaintiffs request here would enjoin EPA from unlawfully
        Case 1:25-cv-00698-TSC            Document 64         Filed 04/05/25       Page 3 of 6




dismantling the NCIF program and interfering with funds held in accounts in the name of Plaintiffs

and the Subgrantees. Although that order returning to the status quo ante would permit Plaintiffs

and their Subgrantees to access funds at Citibank, this does not mean Plaintiffs are effectively

seeking damages. Am.’s Cmty. Bankers v. F.D.I.C., 200 F.3d 822, 829 (D.C. Cir. 2000) (“[M]oney

damages represent compensatory relief, an award given to a plaintiff as a substitute for that which

has been lost; specific relief in contrast represents an attempt to restore to the plaintiff that to which

it was entitled from the beginning”). Unlike in DOE, “any monetary benefit that might flow to

Plaintiffs ‘would not come from this court’s exercise of jurisdiction, but from the structure of

statutory and regulatory requirements governing compensation’ in this action.” Dkt. 28 at 12

(quoting Tootle v. Sec’y of Navy, 446 F.3d 167, 174 (D.C. Cir. 2006)). Plaintiffs seek to regain

access to their funds at Citibank based on an order prohibiting EPA’s interference, rather than

(as in DOE) an order mandating the Government to pay or indeed to do anything affirmative. That

is consistent with Bowen v. Massachusetts, 487 U. S. 879, 910 (1988), which remains good law.

        Second, although the DOE order did not focus or turn on the source of rights there at issue,

it bears emphasizing that the underlying TRO decision in that case held only that DOE failed to

provide a sufficient explanation for terminating grants, in violation of the APA’s requirement of

providing a reasoned explanation. California v. U.S. Dep’t of Educ., 2025 WL 760825, at *2–3

(D. Mass. Mar. 10, 2025). Contrary to the Government’s contention here, the TRO in DOE

expressly declined to address any other merits argument, including whether the DOE violated

2 C.F.R. § 200.340. Compare id. at *11 n.3 (“I need not, at this time, reach the argument in Count

II that there exists a separate ground for a substantive violation of the APA, i.e., an action not in

accordance with the law.”), with Gov. Notice of Supp. Authority at 1 (arguing that Plaintiffs here

and in DOE “rely[] upon the same termination regulation at issue here, 2 C.F.R. § 200.340”).



                                                    2
       Case 1:25-cv-00698-TSC           Document 64        Filed 04/05/25      Page 4 of 6




       To be sure, Plaintiffs here challenge the adequacy of the EPA’s explanation too. But, again,

the Supreme Court’s order in DOE turned on the remedy sought rather than the nature of the claim

and, as the Court is aware, Plaintiffs here challenge the government’s campaign against the

congressionally created NCIF program which resulted in the suspension of funds and termination

of the program. The government’s campaign attempts to dismantle the program, and in the process

violates statute, the Inflation Reduction Act, federal regulations, 2 C.F.R. Pt 200, the Due Process

Clause of the U.S. Constitution, and the separation of powers. This case therefore does not turn

just (or even mostly) on the adequacy of EPA’s explanation in the termination notices, and indeed

the Government conceded at argument that the termination notices did not affect jurisdiction.

II.    Plaintiffs Here Also Rely On This Court’s Equitable Jurisdiction

       In DOE, the Supreme Court relied on implied limitations in the APA disallowing claims

sounding in contract. Plaintiffs’ federal claims against EPA, however, proceed not just under the

APA but also under this Court’s equity jurisdiction to enjoin violations of federal law by federal

officials, including violations of the Inflation Reduction Act and the U.S. Constitution.

See Dkt. 33-1 at 25 (citing Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015)).

The D.C. Circuit has confirmed that “[n]othing in the subsequent enactment of the APA altered”

this inherent equitable jurisdiction. Dart v. United States, 858 F.2d 217, 224 (D.C. Cir. 1988).

That basis of jurisdiction was not at issue in DOE, and provides an independent basis for Plaintiffs

to seek injunctive relief from the EPA Defendants for violations of federal law.

III.   The Balance Of Equities Here Is Different

       In DOE, the Supreme Court found that “the Government compellingly argues that

respondents would not suffer irreparable harm” without a TRO. DOE, 2025 WL 1008354, at *1.

As this Court found on the TRO and the Government never disputed, Plaintiffs here amply

demonstrated that, at minimum, a return of their funds to Treasury would cause them irreparable

                                                 3
       Case 1:25-cv-00698-TSC           Document 64        Filed 04/05/25      Page 5 of 6




harm. Plaintiffs also showed they would suffer irreparable injury absent access to their funds. This

includes, for Climate United and Power Forward, an existential threat and, for all Plaintiffs,

irreparable harm to their reputation and ability to operate. There was no such showing in DOE.

       As to harm to the Government, in DOE the Government asserted that “it is unlikely to

recover the grant funds once they are disbursed.” 2025 WL 1008354, at *1. By contrast, here, the

funds were already disbursed to accounts at Citibank; EPA has full visibility into the flow of funds

from Citibank and oversight over accounts affiliated with Plaintiffs’ grants; there is no prospect of

funds being withdrawn beyond what is set forth in approved budgets and workplans; and Plaintiffs

must obtain prior written approval from EPA for many types of transfers. Compare California v.

U.S. Dep’t of Educ., 2025 WL 878431, at *5 (1st Cir. Mar. 21, 2025) (“[T]he Department asserts

that it faces irreparable harm because the TRO allows grant recipients to request up to the entirety

of their award monies”), with, e.g., Dkt. 33-2 (Bafford Declaration) ¶¶ 31–35 (describing EPA’s

oversight mechanisms and limitations on Plaintiffs’ draws).

IV.    Plaintiffs Here Also Have Claims Against Citibank, A Private Party

       Finally, the Supreme Court’s decision in DOE only focused on the proprietary of an order

directing the Government to disburse funds, but here Plaintiffs also have contract claims against

Citibank, a private party. There is no question that this Court has jurisdiction over those contract

claims, the substance of those claims does not turn on the Tucker Act, and the equities are

completely different than they were in DOE. The Court here has jurisdiction to consider whether

Citibank breached a private contract by (a) relying on EPA’s unlawful directions, and (b) failing

to comply with all instructions issued by accountholders. As no Notice of Exclusive Control has

issued, an injunction against Citibank directing it to comply with all instructions of accountholders

may stand without regard to the propriety of EPA’s conduct to date, and without regard to the

scope of the Tucker Act or to whether Plaintiffs may press any claims against EPA here.
                                                 4
       Case 1:25-cv-00698-TSC          Document 64     Filed 04/05/25     Page 6 of 6




Dated: April 5, 2025                           Respectfully submitted:

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